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Information to identify the case:
Debtor 1
                       Dorcas Thuku                                                Social Security number or ITIN   xxx−xx−1302
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          13−17375−VFP

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Dorcas Thuku

                                                                             By the court: Vincent F. Papalia
               6/20/18                                                                     United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                    not all. Generally, a discharge removes the
                                                                             debtors' personal liability for debts provided for
This order means that no one may make any                                    by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                            In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                  rules protect certain community property owned
otherwise try to collect from the debtors personally                         by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                            not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                Some debts are not discharged
debtors damages and attorney's fees.                                         Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                               ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                                 obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                  ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                  ♦ debts for certain types of taxes specified
                                                                                    in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                    523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                    extent not paid in full under the plan;




                                                                                         For more information, see page 2>



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    ♦ debts that the bankruptcy court has                    ♦ debts for restitution, or damages,
      decided or will decide are not discharged                awarded in a civil action against the
      in this bankruptcy case;                                 debtor as a result of malicious or willful
                                                               injury by the debtor that caused
                                                               personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,            death of an individual; and
      or criminal restitution obligations;

                                                             ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                     caused by operating a vehicle while
      properly list;                                           intoxicated.


    ♦ debts provided for under 11 U.S.C. §              In addition, this discharge does not stop
      1322(b)(5) and on which the last payment          creditors from collecting from anyone else who
      or other transfer is due after the date on        is also liable on the debt, such as an insurance
      which the final payment under the plan            company or a person who cosigned or
      was due;                                          guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if        This information is only a general
      obtaining the trustee's prior approval of          summary of a chapter 13 discharge; some
      incurring the debt was practicable but was         exceptions exist. Because the law is
      not obtained;                                      complicated, you should consult an
                                                         attorney to determine the exact effect of
                                                         the discharge in this case.




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